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                    EXHIBIT C
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                              Histogram of 1754 Emails Produced to Defendants by FDA
                       350


                       300


                       250
Count of Grand Total




                       200


                       150


                       100


                        50


                         0




                                                      EM - SENTDATE
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EM - SENTDATE       Grand Total
        Apr/2019                  1
        Feb/2019                  1
        Jan/2019                  1
         Jul/2018                 1
        Jun/2018                  6
        May/2018                  6
        Apr/2018                  7
        Mar/2018              14
        Jan/2018                  1
        Nov/2017                  4
        Oct/2017                  5
        Aug/2017                  2
        Jun/2017                  2
        May/2017                  2
        Apr/2017              11
        Mar/2017                  7
        Feb/2017                  7
        Jan/2017              12
        Dec/2016              30
        Nov/2016              20
        Oct/2016              62
        Sep/2016              11
        Aug/2016              12
         Jul/2016             48
        Jun/2016              21
        May/2016              27
        Apr/2016              53
        Mar/2016              32
        Feb/2016              43
        Jan/2016              40
        Dec/2015             164
        Nov/2015             222
        Oct/2015             309
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          Sep/2015         77
          Aug/2015         56
              Jul/2015     86
          Jun/2015         40
          May/2015         29
          Apr/2015         23
          Mar/2015         48
          Feb/2015         16
          Jan/2015         16
          Dec/2014         17
          Nov/2014         21
          Oct/2014         30
          Sep/2014         24
          Aug/2014          8
              Jul/2014     13
          Jun/2014         33
          May/2014          4
          Apr/2014         12
          Mar/2014         10
          Feb/2014          3
          Jan/2014          2
          Dec/2013          2
Grand Total              1,754
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Mar/2017      7
Feb/2017      7
Jan/2017     12
Dec/2016     30
Nov/2016     20
Oct/2016     62
Sep/2016     11
Aug/2016     12
 Jul/2016    48
Jun/2016     21
May/2016     27
Apr/2016     53
Mar/2016     32
Feb/2016     43
Jan/2016     40
Dec/2015    164
Nov/2015    222
Oct/2015    309
Sep/2015     77
Aug/2015     56
 Jul/2015    86
Jun/2015     40
May/2015     29
Apr/2015     23
Mar/2015     48
Feb/2015     16
Jan/2015     16
Dec/2014     17
Nov/2014     21
Oct/2014     30
Sep/2014     24
Aug/2014      8
 Jul/2014    13
Jun/2014     33
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          May/2014      4
          Apr/2014     12
          Mar/2014     10
          Feb/2014      3
          Jan/2014      2
          Dec/2013      2
Grand Total          1,754
